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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO et al.,             )
                                                )
       Plaintiffs,                              )
                                                )
 v.                                             )       Case No. 1:21-cv-00786-LY,
                                                )       Consolidated with 5:21-cv-00844-XR
 GREGORY W. ABBOTT et al.,                      )
                                                )
       Defendants.                              )

         DEFENDANT BEXAR COUNTY CRIMINAL DISTRICT ATTORNEY
                JOE GONZALES’S ANSWER TO PLAINTIFFS’
             SECOND AMENDED COMPLAINT (DOCKET NO. 207)

       Now comes Defendant Bexar County Criminal District Attorney Joe Gonzales, and files

this Answer to Plaintiffs’ Second Amended Complaint for Declaratory and Injunctive Relief.

                                     GENERAL DENIAL

       Pursuant to Federal Rule of Civil Procedure 8(b), Defendant Gonzales denies each and

every allegation contained in Plaintiffs’ Complaint except those expressly admitted herein. The

following specific admissions and denials are made to the corresponding paragraphs of Plaintiffs’

Complaint (docket no. 207 in Consolidated Case No. 5:21-cv-00844-XR).

            RESPONSES TO ALLEGATIONS IN PLAINTIFFS’ COMPLAINT

                                     NATURE OF CASE

1.     Plaintiffs’ allegations in Paragraph 1 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

2.     Plaintiffs’ allegations in Paragraph 2 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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3.     Plaintiffs’ allegations in Paragraph 3 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

4.     Plaintiffs’ allegations in Paragraph 4 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

5.     Plaintiffs’ allegations in Paragraph 5 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

6.     Plaintiffs’ allegations in Paragraph 6 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

7.     Plaintiffs’ allegations in Paragraph 7 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

8.     Plaintiffs’ allegations in Paragraph 8 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

9.     Plaintiffs’ allegations in Paragraph 9 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

10.    Plaintiffs’ allegations in Paragraph 10 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

11.    Plaintiffs’ allegations in Paragraph 11 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

12.    Plaintiffs’ allegations in Paragraph 12 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

13.    The allegations in Paragraph 13 state legal conclusions to which no response is required.




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                               JURISDICTION AND VENUE

14.    Defendant Gonzales admits that Plaintiffs bring this action under 42 U.S.C. §§ 1983 and

1988, the U.S. Constitution, and the Voting Rights Act, 52 U.S.C. § 10301 et seq.

15.    The allegations in Paragraph 15 state legal conclusions to which no response is required.

16.    The allegations in Paragraph 16 state legal conclusions to which no response is required.

17.    The allegations in Paragraph 17 state legal conclusions to which no response is required.

18.    The allegations in Paragraph 18 state legal conclusions to which no response is required.

                                           PARTIES

19.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 19.

20.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 20.

21.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 21.

22.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 22.

23.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 23.

24.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 24.

25.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 25.




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26.    Defendant Gonzales admits that the Texas Secretary of State is the state’s chief elections

officer and has authority to prescribe voter assistance forms and to create training programs for

poll watchers.

27.    Defendant Gonzales admits that the Texas Attorney General has some authority to

prosecute criminal offenses prescribed by the election laws of Texas. Defendant Gonzales lacks

knowledge or information sufficient to form a belief as to whether the Attorney General’s office

is currently prosecuting hundreds of purported election law violations.

28.    Defendant Gonzales admits that Jacquelyn Callanen is the Bexar County Elections

Administrator, but is without sufficient knowledge or information to admit or deny the remainder

of the allegations in Paragraph 28.

29.    Defendant Gonzales admits that he is the Bexar County Criminal District Attorney, but

denies that he or his office has taken action to implement the provisions of SB1 that impose

criminal penalties.

30.    Defendant Gonzales admits that Dana DeBeauvoir is the Travis County Clerk, but is

without sufficient knowledge or information to admit or deny the remainder of the allegations in

Paragraph 30.

31.    Defendant Gonzales admits that José Garza is the Travis County Criminal District

Attorney, but is without sufficient knowledge or information to admit or deny the remainder of the

allegations in Paragraph 31.

32.    Defendant Gonzales admits that Isabel Longoria is the Harris County Elections

Administrator, but is without sufficient knowledge or information to admit or deny the remainder

of the allegations in Paragraph 32.




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33.    Defendant Gonzales admits that Kim Ogg is the Harris County District Attorney, but is

without sufficient knowledge or information to admit or deny the remainder of the allegations in

Paragraph 33.

34.    Defendant Gonzales admits that Yvonne Ramón is the Hidalgo County Elections

Administrator, but is without sufficient knowledge or information to admit or deny the remainder

of the allegations in Paragraph 34.

35.    Defendant Gonzales admits that Ricardo Rodriguez, Jr. is the Hidalgo County Criminal

District Attorney, but is without sufficient knowledge or information to admit or deny the

remainder of the allegations in Paragraph 35.

36.    Defendant Gonzales admits that Michael Scarpello is the Dallas County Elections

Administrator, but is without sufficient knowledge or information to admit or deny the remainder

of the allegations in Paragraph 36.

37.    Defendant Gonzales admits that John Creuzot is the Dallas County District Attorney, but

is without sufficient knowledge or information to admit or deny the remainder of the allegations

in Paragraph 37.

38.    Defendant Gonzales admits that Lisa Wise is the El Paso County Elections Administrator,

but is without sufficient knowledge or information to admit or deny the remainder of the

allegations in Paragraph 38.

39.    Defendant Gonzales admits that Yvonne Rosales is the District Attorney for the 34th

Judicial District, which includes El Paso, Culberson, and Hudspeth Counties, but is without

sufficient knowledge or information to admit or deny the remainder of the allegations in Paragraph

39.




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                           STATEMENT OF FACTS AND LAW

40.    Plaintiffs’ allegations in Paragraph 40 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

41.    Plaintiffs’ allegations in Paragraph 41 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

42.    Plaintiffs’ allegations in Paragraph 42 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

43.    Plaintiffs’ allegations in Paragraph 43 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

44.    Plaintiffs’ allegations in Paragraph 44 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

45.    Plaintiffs’ allegations in Paragraph 45 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

46.    Plaintiffs’ allegations in Paragraph 46 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

47.    Plaintiffs’ allegations in Paragraph 47 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

48.    Plaintiffs’ allegations in Paragraph 48 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

49.    Plaintiffs’ allegations in Paragraph 49 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

50.    Plaintiffs’ allegations in Paragraph 50 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.



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51.    Plaintiffs’ allegations in Paragraph 51 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

52.    Plaintiffs’ allegations in Paragraph 52 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

53.    Plaintiffs’ allegations in Paragraph 53 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

54.    Plaintiffs’ allegations in Paragraph 54 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

55.    Plaintiffs’ allegations in Paragraph 55 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

56.    Plaintiffs’ allegations in Paragraph 56 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

57.    Plaintiffs’ allegations in Paragraph 57 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

58.    Plaintiffs’ allegations in Paragraph 58 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

59.    Plaintiffs’ allegations in Paragraph 59 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

60.    Plaintiffs’ allegations in Paragraph 60 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

61.    Plaintiffs’ allegations in Paragraph 61 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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62.    Plaintiffs’ allegations in Paragraph 62 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

63.    Plaintiffs’ allegations in Paragraph 63 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

64.    Plaintiffs’ allegations in Paragraph 64 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

65.    Plaintiffs’ allegations in Paragraph 65 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

66.    Plaintiffs’ allegations in Paragraph 66 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

67.    Plaintiffs’ allegations in Paragraph 67 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

68.    Plaintiffs’ allegations in Paragraph 68 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

69.    Plaintiffs’ allegations in Paragraph 69 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

70.    Plaintiffs’ allegations in Paragraph 70 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

71.    Plaintiffs’ allegations in Paragraph 71 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

72.    Plaintiffs’ allegations in Paragraph 72 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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73.    Plaintiffs’ allegations in Paragraph 73 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

74.    Plaintiffs’ allegations in Paragraph 74 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

75.    Plaintiffs’ allegations in Paragraph 75 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

76.    Plaintiffs’ allegations in Paragraph 76 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

77.    Plaintiffs’ allegations in Paragraph 77 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

78.    Plaintiffs’ allegations in Paragraph 78 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

79.    Plaintiffs’ allegations in Paragraph 79 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

80.    Plaintiffs’ allegations in Paragraph 80 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

81.    Plaintiffs’ allegations in Paragraph 81 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

82.    Plaintiffs’ allegations in Paragraph 82 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

83.    Plaintiffs’ allegations in Paragraph 83 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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84.    Plaintiffs’ allegations in Paragraph 84 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

85.    Plaintiffs’ allegations in Paragraph 85 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

86.    Plaintiffs’ allegations in Paragraph 86 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

87.    Plaintiffs’ allegations in Paragraph 87 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

88.    Plaintiffs’ allegations in Paragraph 88 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

89.    Plaintiffs’ allegations in Paragraph 89 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

90.    Plaintiffs’ allegations in Paragraph 90 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

91.    Plaintiffs’ allegations in Paragraph 91 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

92.    Plaintiffs’ allegations in Paragraph 92 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

93.    Plaintiffs’ allegations in Paragraph 93 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

94.    Plaintiffs’ allegations in Paragraph 94 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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95.    Plaintiffs’ allegations in Paragraph 95 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

96.    Plaintiffs’ allegations in Paragraph 96 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

97.    Plaintiffs’ allegations in Paragraph 97 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

98.    Plaintiffs’ allegations in Paragraph 98 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

99.    Plaintiffs’ allegations in Paragraph 99 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

100.   Plaintiffs’ allegations in Paragraph 100 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

101.   Plaintiffs’ allegations in Paragraph 101 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

102.   Plaintiffs’ allegations in Paragraph 102 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

103.   Plaintiffs’ allegations in Paragraph 103 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

104.   Plaintiffs’ allegations in Paragraph 104 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

105.   Plaintiffs’ allegations in Paragraph 105 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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106.   Plaintiffs’ allegations in Paragraph 106 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

107.   Plaintiffs’ allegations in Paragraph 107 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

108.   Plaintiffs’ allegations in Paragraph 108 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

109.   Plaintiffs’ allegations in Paragraph 109 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

110.   Plaintiffs’ allegations in Paragraph 110 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

111.   Plaintiffs’ allegations in Paragraph 111 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

112.   Plaintiffs’ allegations in Paragraph 112 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

113.   Plaintiffs’ allegations in Paragraph 113 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

114.   Plaintiffs’ allegations in Paragraph 114 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

115.   Plaintiffs’ allegations in Paragraph 115 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

116.   Plaintiffs’ allegations in Paragraph 116 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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117.   Plaintiffs’ allegations in Paragraph 117 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

118.   Plaintiffs’ allegations in Paragraph 118 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

119.   Plaintiffs’ allegations in Paragraph 119 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

120.   Plaintiffs’ allegations in Paragraph 120 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

121.   Plaintiffs’ allegations in Paragraph 121 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

122.   Plaintiffs’ allegations in Paragraph 122 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

123.   Plaintiffs’ allegations in Paragraph 123 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

124.   Plaintiffs’ allegations in Paragraph 124 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

125.   Plaintiffs’ allegations in Paragraph 125 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

126.   Plaintiffs’ allegations in Paragraph 126 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

127.   Plaintiffs’ allegations in Paragraph 127 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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128.   Plaintiffs’ allegations in Paragraph 128 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

129.   Plaintiffs’ allegations in Paragraph 129 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

130.   Plaintiffs’ allegations in Paragraph 130 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

131.   Plaintiffs’ allegations in Paragraph 131 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

132.   Plaintiffs’ allegations in Paragraph 132 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

133.   Plaintiffs’ allegations in Paragraph 133 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

134.   Plaintiffs’ allegations in Paragraph 134 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

135.   Plaintiffs’ allegations in Paragraph 135 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

136.   Plaintiffs’ allegations in Paragraph 136 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

137.   Plaintiffs’ allegations in Paragraph 137 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

138.   Plaintiffs’ allegations in Paragraph 138 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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139.   Plaintiffs’ allegations in Paragraph 139 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

140.   Plaintiffs’ allegations in Paragraph 140 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

141.   Plaintiffs’ allegations in Paragraph 141 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

142.   Plaintiffs’ allegations in Paragraph 142 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

143.   Plaintiffs’ allegations in Paragraph 143 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

144.   Plaintiffs’ allegations in Paragraph 144 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

145.   Plaintiffs’ allegations in Paragraph 145 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

146.   Plaintiffs’ allegations in Paragraph 146 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

147.   Plaintiffs’ allegations in Paragraph 147 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

148.   Plaintiffs’ allegations in Paragraph 148 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

149.   Plaintiffs’ allegations in Paragraph 149 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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150.   Plaintiffs’ allegations in Paragraph 150 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

151.   Plaintiffs’ allegations in Paragraph 151 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

152.   Plaintiffs’ allegations in Paragraph 152 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

153.   Plaintiffs’ allegations in Paragraph 153 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

154.   Plaintiffs’ allegations in Paragraph 154 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

155.   Plaintiffs’ allegations in Paragraph 155 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

156.   Plaintiffs’ allegations in Paragraph 156 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

157.   Plaintiffs’ allegations in Paragraph 157 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

158.   Plaintiffs’ allegations in Paragraph 158 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

159.   Plaintiffs’ allegations in Paragraph 159 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

160.   The allegations in Paragraph 160 state legal conclusions to which no response is required.

161.   The allegations in Paragraph 161 state legal conclusions to which no response is required.

162.   The allegations in Paragraph 162 state legal conclusions to which no response is required.



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163.   The allegations in Paragraph 163 state legal conclusions to which no response is required.

164.   The allegations in Paragraph 164 state legal conclusions to which no response is required.

165.   The allegations in Paragraph 165 state legal conclusions to which no response is required.

166.   The allegations in Paragraph 166 state legal conclusions to which no response is required.

167.   The allegations in Paragraph 167 state legal conclusions to which no response is required.

168.   The allegations in Paragraph 168 state legal conclusions to which no response is required.

169.   The allegations in Paragraph 169 state legal conclusions to which no response is required.

170.   The allegations in Paragraph 170 state legal conclusions to which no response is required.

171.   The allegations in Paragraph 171 state legal conclusions to which no response is required.

172.   The allegations in Paragraph 172 state legal conclusions to which no response is required.

173.   The allegations in Paragraph 173 state legal conclusions to which no response is required.

174.   The allegations in Paragraph 174 state legal conclusions to which no response is required.

175.   The allegations in Paragraph 175 state legal conclusions to which no response is required.

176.   The allegations in Paragraph 176 state legal conclusions to which no response is required.

177.   The allegations in Paragraph 177 state legal conclusions to which no response is required.

178.   The allegations in Paragraph 178 state legal conclusions to which no response is required.

179.   The allegations in Paragraph 179 state legal conclusions to which no response is required.

180.   The allegations in Paragraph 180 state legal conclusions to which no response is required.

181.   The allegations in Paragraph 181 state legal conclusions to which no response is required.

182.   The allegations in Paragraph 182 state legal conclusions to which no response is required.

183.   The allegations in Paragraph 183 state legal conclusions to which no response is required.

184.   The allegations in Paragraph 184 state legal conclusions to which no response is required.

185.   The allegations in Paragraph 185 state legal conclusions to which no response is required.



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186.   The allegations in Paragraph 186 state legal conclusions to which no response is required.

187.   The allegations in Paragraph 187 state legal conclusions to which no response is required.

188.   The allegations in Paragraph 188 state legal conclusions to which no response is required.

189.   The allegations in Paragraph 189 state legal conclusions to which no response is required.

190.   The allegations in Paragraph 190 state legal conclusions to which no response is required.

191.   Plaintiffs’ allegations in Paragraph 191 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

192.   Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 192.

193.   Plaintiffs’ allegations in Paragraph 193 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

194.   Plaintiffs’ allegations in Paragraph 194 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

195.   The allegations in Paragraph 195 state legal conclusions to which no response is required.

196.   The allegations in Paragraph 196 state legal conclusions to which no response is required.

197.   Plaintiffs’ allegations in Paragraph 197 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

198.   Plaintiffs’ allegations in Paragraph 198 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

199.   Plaintiffs’ allegations in Paragraph 199 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

200.   Plaintiffs’ allegations in Paragraph 200 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.



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201.   Plaintiffs’ allegations in Paragraph 201 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

202.   Plaintiffs’ allegations in Paragraph 202 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

203.   Plaintiffs’ allegations in Paragraph 203 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

204.   Plaintiffs’ allegations in Paragraph 204 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

205.   Plaintiffs’ allegations in Paragraph 205 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

206.   Plaintiffs’ allegations in Paragraph 206 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

207.   Plaintiffs’ allegations in Paragraph 207 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

208.   Plaintiffs’ allegations in Paragraph 208 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

209.   Plaintiffs’ allegations in Paragraph 209 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

210.   Plaintiffs’ allegations in Paragraph 210 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

211.   Plaintiffs’ allegations in Paragraph 211 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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212.   Plaintiffs’ allegations in Paragraph 212 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

213.   Plaintiffs’ allegations in Paragraph 213 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

214.   Plaintiffs’ allegations in Paragraph 214 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

215.   Plaintiffs’ allegations in Paragraph 215 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

216.   Plaintiffs’ allegations in Paragraph 216 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

217.   Plaintiffs’ allegations in Paragraph 217 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

218.   Plaintiffs’ allegations in Paragraph 218 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

219.   Plaintiffs’ allegations in Paragraph 219 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

220.   Plaintiffs’ allegations in Paragraph 220 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

221.   Plaintiffs’ allegations in Paragraph 221 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

222.   Plaintiffs’ allegations in Paragraph 222 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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223.   Plaintiffs’ allegations in Paragraph 223 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

224.   Plaintiffs’ allegations in Paragraph 224 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

225.   Plaintiffs’ allegations in Paragraph 225 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

226.   Plaintiffs’ allegations in Paragraph 226 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

227.   Plaintiffs’ allegations in Paragraph 227 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

228.   Plaintiffs’ allegations in Paragraph 228 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

229.   Plaintiffs’ allegations in Paragraph 229 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

230.   Plaintiffs’ allegations in Paragraph 230 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

231.   Plaintiffs’ allegations in Paragraph 231 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

232.   Plaintiffs’ allegations in Paragraph 232 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

233.   Plaintiffs’ allegations in Paragraph 233 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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234.   Plaintiffs’ allegations in Paragraph 234 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

235.   Plaintiffs’ allegations in Paragraph 235 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

236.   Plaintiffs’ allegations in Paragraph 236 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

237.   Plaintiffs’ allegations in Paragraph 237 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

238.   Plaintiffs’ allegations in Paragraph 238 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

239.   Plaintiffs’ allegations in Paragraph 239 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

240.   Plaintiffs’ allegations in Paragraph 240 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

241.   Plaintiffs’ allegations in Paragraph 241 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

242.   Plaintiffs’ allegations in Paragraph 242 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

243.   Plaintiffs’ allegations in Paragraph 243 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

244.   Plaintiffs’ allegations in Paragraph 244 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.




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245.     Plaintiffs’ allegations in Paragraph 245 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

246.     Plaintiffs’ allegations in Paragraph 246 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

247.     Plaintiffs’ allegations in Paragraph 247 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

248.     Plaintiffs’ allegations in Paragraph 248 are not directed toward Defendant Gonzales, but in

an abundance of caution, Defendant Gonzales denies any allegations that could pertain to him.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                                    52 U.S.C. § 10301(a)
                       Violation of Section 2 of the Voting Rights Act
       Against Defendants Gonzales, Garza, Ogg, Rodriguez, Creuzot, Rosales, Callanen,
                     DeBeauvoir, Longoria, Ramón, Scarpello, and Wise

249.     In response to Paragraph 249, Defendant Gonzales incorporates by reference all of his

former responses.

250.     The allegations in Paragraph 250 state legal conclusions to which no response is required.

251.     The allegations in Paragraph 251 state legal conclusions to which no response is required.

252.     The allegations in Paragraph 252 state legal conclusions to which no response is required.

253.     The allegations in Paragraph 253 state legal conclusions to which no response is required.

254.     The allegations in Paragraph 254 state legal conclusions to which no response is required.

255.     Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 255.

256.     The allegations in Paragraph 256 state legal conclusions to which no response is required.




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                                           COUNT II

                       U.S. Const. Amends. I, XIV; 42 U.S.C. § 1983
                            Undue Burden on the Right to Vote
       Against Defendants Callanen, DeBeavoir, Longoria, Ramón, Scarpello, and Wise

257.    In response to Paragraph 257, Defendant Gonzales incorporates by reference all of his

former responses.

258.    The allegations in Paragraph 258 state legal conclusions to which no response is required.

259.    The allegations in Paragraph 259 state legal conclusions to which no response is required.

260.    The allegations in Paragraph 260 state legal conclusions to which no response is required.

261.    The allegations in Paragraph 261 state legal conclusions to which no response is required.

262.    The allegations in Paragraph 262 state legal conclusions to which no response is required.

263.    The allegations in Paragraph 263 state legal conclusions to which no response is required.

264.    The allegations in Paragraph 264 state legal conclusions to which no response is required.

265.    The allegations in Paragraph 265 state legal conclusions to which no response is required.

266.    The allegations in Paragraph 266 state legal conclusions to which no response is required.

267.    The allegations in Paragraph 267 state legal conclusions to which no response is required.

268.    The allegations in Paragraph 268 state legal conclusions to which no response is required.

269.    The allegations in Paragraph 269 state legal conclusions to which no response is required.

270.    The allegations in Paragraph 270 state legal conclusions to which no response is required.

271.    Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 271.

272.    The allegations in Paragraph 272 state legal conclusions to which no response is required.




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                                            COUNT III

                        U.S. Const. Amends. I, XIV; 42 U.S.C. § 1983
                         Restriction on Free Speech and Expression
       Against Defendants Gonzales, Garza, Ogg, Rodriguez, Creuzot, Rosales, Callanen,
                     DeBeauvoir, Longoria, Ramón, Scapello, and Wise

273.     In response to Paragraph 273, Defendant Gonzales incorporates by reference all of his

former responses.

274.     The allegations in Paragraph 274 state legal conclusions to which no response is required.

275.     The allegations in Paragraph 275 state legal conclusions to which no response is required.

276.     The allegations in Paragraph 276 state legal conclusions to which no response is required.

277.     The allegations in Paragraph 277 state legal conclusions to which no response is required.

278.     The allegations in Paragraph 278 state legal conclusions to which no response is required.

279.     The allegations in Paragraph 279 state legal conclusions to which no response is required.

280.     The allegations in Paragraph 280 state legal conclusions to which no response is required.

281.     The allegations in Paragraph 281 state legal conclusions to which no response is required.

282.     The allegations in Paragraph 282 state legal conclusions to which no response is required.

283.     The allegations in Paragraph 283 state legal conclusions to which no response is required.

284.     The allegations in Paragraph 284 state legal conclusions to which no response is required.

285.     Defendant Gonzales is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 285.

286.     The allegations in Paragraph 286 state legal conclusions to which no response is required.




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                                              COUNT IV

                                        52 U.S.C. § 10508
                        Violation of Section 208 of the Voting Rights Act
                                     Against All Defendants

287.    In response to Paragraph 287, Defendant Gonzales incorporates by reference all of his

former responses.

288.    The allegations in Paragraph 288 state legal conclusions to which no response is required.

289.    The allegations in Paragraph 289 state legal conclusions to which no response is required.

290.    The allegations in Paragraph 290 state legal conclusions to which no response is required.

291.    The allegations in Paragraph 291 state legal conclusions to which no response is required.

292.    The allegations in Paragraph 292 state legal conclusions to which no response is required.

293.    The allegations in Paragraph 293 state legal conclusions to which no response is required.

294.    The allegations in Paragraph 294 state legal conclusions to which no response is required.

                                      PRAYER FOR RELIEF

        Defendant Gonzales denies that he has taken any action that violated Plaintiffs’ rights or

that Plaintiffs are entitled to relief against him.

                                    AFFIRMATIVE DEFENSES

        Defendant Gonzales asserts that sovereign immunity, absolute prosecutorial immunity,

qualified immunity, and principles of equity and justice bar Plaintiffs’ recovery of attorneys’ fees

from Defendant Gonzales, who did not enact S.B. 1.

                         RIGHT TO RAISE ADDITIONAL DEFENSES

        Defendant Gonzales reserves the right to raise affirmative and other defenses that may

become apparent throughout the factual development of this case.




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                                       JURY DEMAND

       Defendant Gonzales demands a trial by jury as to all issues so triable.

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Gonzales prays that Plaintiffs

take nothing from Bexar County or Defendant Gonzales by way of their suit.


Dated: February 22nd, 2022.                         Respectfully Submitted,
                                                    JOE GONZALES
                                                    Bexar County Criminal District Attorney

                                             By:      /s/ Robert Green
                                                    ROBERT GREEN
                                                    Bar No. 24087626
                                                    Assistant District Attorney, Civil Division
                                                    101 W. Nueva, 7th Floor
                                                    San Antonio, Texas 78205
                                                    Telephone: (210) 335-2146
                                                    robert.green@bexar.org
                                                    Attorney for Defendant Bexar County
                                                    Criminal District Attorney Joe Gonzales




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                               CERTIFICATE OF SERVICE

        I do hereby certify that, on the 22nd day of February, 2022, I electronically filed the
foregoing document with the Clerk of Court using the CM/ECF system, which provided electronic
service upon all parties.

                                                    /s/ Robert Green
                                                   ROBERT GREEN




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